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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA

VS.                                  4:17-CR-00080-01-JM

PEGGY KENDRICK

                                             ORDER

       For the reasons set out below, Defendant’s Motion for Compassionate Release (Doc.

No. 66) is DENIED.

I.     BACKGROUND

       On April 26, 2017, Defendant pled guilty to conspiracy to violate civil rights while under

color of law, violating civil rights while under color of law, and making false records to obstruct

an investigation.1 On April 18, 2019, she was sentenced to 84 months in prison.2

II.    DISCUSSION

       Although the First Step Act made the procedural hurdles for compassionate release a bit

less strenuous, a defendant still must establish “extraordinary and compelling reasons” and that

release would not be contrary to the 18 U.S.C. § 3553(a) factors.3

       Before a Defendant may seek compassionate release under the First Step Act, she must

first make the request with the Bureau of Prisons and exhaust her administrative remedies there.4


       1
        Doc. Nos. 12, 13.
       2
        Doc. Nos. 51, 52.
       3
        18 U.S.C. § 3553(a)(2) mandates that any sentence imposed reflect the seriousness of the
offense, afford adequate deterrence, protect the public, and provide the defendant with
appropriate rehabilitation.
       4
       See United States v. Smith, Case No. 4:95-CR-00019-LPR-4, Doc. No. 440 (E.D. Ark.
May 14, 2020) (no jurisdiction when defendant fails to exhaust administrative remedies).

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Defendant asserts that she requested compassionate release from the warden, and that request

was rejected. However, no documents are attached, so it is not clear whether Defendant

appealed the denial. If she did not appeal, she has not exhausted his administrative remedies,

which means this motion is premature and this Court lacks jurisdiction.

       Even if this Court had jurisdiction, the request would be denied. In support of her

motion, Defendant asserts she has diabetes, a prolapsed rectum, and is not getting enough

oxygen to the lower lobes of her lungs which put her at a higher risk of suffering from COVID-

19. First, these health conditions are not “extraordinary and compelling” reasons to support

Defendant’s release. Although the First Step Act did not define this phrase, it defers to the

United States Sentencing Guidelines, which does set out examples.5 Defendant’s health

conditions are not listed. Additionally, there is no evidence that Defendant’s health conditions

are severe enough to prevent her from independently functioning within the prison. She also has

provided neither argument nor evidence that her health conditions cannot be controlled with

medication. Second, “fear of contracting COVID-19 or of experiencing more intense symptoms

than the average person are not extraordinary or compelling enough reasons for release.”6 Third,




       5
         Of course, this list predates the COVID-19 outbreak. U.S.S.G § 1B1.13 cmt. n. 1. The
examples are: (1) the defendant’s medical condition is such that he suffers from a “terminal
illness” or the condition “substantially diminishes the ability of the defendant to provide
self-care within the environment of a correctional facility and from which he or she is not
expected to recover”; (2) “[t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious
deterioration in physical or mental health because of the aging process; and (iii) has served at
least 10 years or 75 percent of his or her term of imprisonment, whichever is less; (3) the
defendant’s family circumstances include either “(i) The death or incapacitation of the caregiver
of the defendant’s minor child or minor children” or “(ii) The incapacitation of the defendant's
spouse or registered partner when the defendant would be the only available caregiver for the
spouse or registered partner.”
       6
        United States v. Osborne, No. 4:05-CR-00109-BSM-12, 2020 WL 3258609, at *2 (E.D.
Ark. June 16, 2020).

                                                  2
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Defendant is 47 years old and has served only a fraction of her sentence, so she does not meet

the age and minimum served-time requirements under the Guidelines.

        Defendant also asserts that she should be released to home confinement so she can care

for her grandchildren. According to Defendant, her daughter and daughter’s boyfriend are using

and selling drugs. She also contends that the boyfriend is abusing her grandchildren. Under the

Guidelines, compassionate release may be warranted upon the “death or incapacitation of the

caregiver of the defendant’s minor child.”7 Defendant has provided neither evidence nor

argument that her daughter is incapacitated to the point that she is unable to care for the children.

Additionally, Defendant’s husband has contacted DHS in attempt to remedy the situation.

        Even if Defendant could establish extraordinary and compelling reasons, her request for

relief must be denied because of the § 3553(a) factors – specifically, reflecting the severity of the

offense.

        Between June 2012 and July 2014, Defendant was the Captain of the White River,

Arkansas Juvenile Detention Center. During that time, Defendant and her corrections officers

often used excessive force (typically pepper spray) to assault, injure, and physically punish

juvenile inmates at the facility. On numerous occasions, Defendant and her co-conspirators

pepper-sprayed juvenile inmates and “let them cook” in their cells, rather than taking them to

wash off the pepper spray. Defendant also placed juvenile inmates on lockdown for minor

infractions (and for longer than warranted) in a cell that got extremely cold in the winter and hot

in the summer. To cover up their actions, Defendant and her co-conspirators drafted false

reports that tried to justify their use of excessive force.




        7
           U.S.S.G § 1B1.13 cmt. n. 1 (3).

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                                    CONCLUSION

     For the reasons stated, Defendant’s Motion for Compassionate Release (Doc. No. 66) is

DENIED.

     IT IS SO ORDERED, this 9th day of November, 2020.


                                                UNITED STATES DISTRICT JUDGE




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